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Off-Hire Deactivation Check Sheet

A Po Shep
fi

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Vessel Name: Mn / by AL 2 A | USCG Documentation #_ LD \e
L

7 sy

State Registration # Vessel Length: (77 LG G FT. .Homeport:

siti |

eo
Circle One ~.Recreational gr ; Commercial Boater/fishermai If Commercial, please provide. Lt License type and

“rere

Number She; oo of c 1% ly VoO Contract Number Lie ~e C “ite

Please confirm decontamination procedure was completed:/YES or NO (circle one) —

Please provide the following information:

iow oy | jp
i, On hire Date: D> > Ss [~ iO
2. Off hire Date including time:__: )- l4~] OD "
3. Amount of Days Activated: YO Deir 3 _

7

é janet,
Did you incur any damages to your vessel during the activation period: YES of NO  (cifcle one)
Cs

if yes, please provide details

{om
Did you or.anyone in your crew incur any personal injury during activation: YES or(NO (circle one) —

lf yes please provide details

Has all equipment provided to you for your VoO mission been returned to BP? YES or 0. (circle one)

Please provide the-date of return and name of person who accepted it:

Contact Information:

Vessel Owner LA Mow Le Le
Captain || O i AY C\ U Us A
Crew member(s) 1. Ta an Aeon
2 Dur Vaan’
: : ~ : Z 7 7 TT

Would you be willing to participate in the VESSEL OF OPPORTHNITY. program again: YES or NO (circle one)

714-10 Ll: / ~—/
Date: I 1G 'Vowner/Captain, Lb ! AM AY J Gignature: VK Sih tog
le i fy

Date: +4 ge 1D) Inspector: Efex we ZL & bys red lle Signature: AZ

f

Confidential BP-HZN-2179V0000002389
